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                          IN THE LINITED STATES DISTzuCT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

SHANI ADIA McCALL,                                     )
                                                       )
                       Plaintiff,                      )
                                                       )
                                                       )
                                                       )
FLAGSHIP CREDIT ACCEPTANCE,                            )
                                                       )
                        Del'endant.                    )   Civil Action No. 3 :20-CY     -27 44-C-BT


                                                   ORDER

       Before the Court are the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge therein recommending that the Court dismiss              Plaintiff s complaint under

28 U.S.C. $ l9l5(eX2)(B) and deny Plaintiff s motion for default judgment.'

       The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions, and Recommendation

are hereby ADOPTED as the findings and conclusions of the Court. For the reasons stated

therein, Plaintiff s complaint is hereby DISMISSED under 28 U.S.C. $ 1915(eX2XB).

Plaintiff s motion for default judgment is DENIED.
                                      'il
       SO oRDERED        this 4         auy   of January, 202   I   .




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                                                    SAM    C             INGS
                                                    SEN OR              ED STAT         STRICT JUDGE
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      I Plaintiffhas failed to file objections to the Magistrate Judge's Findings, Conclusions, and
Recommendation and the time to do so has now expired.
